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               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                         AUSTIN DIVISION

SCOTT LOUIS PANETTI,                   §
             Petitioner,               §
                                       §
v.                                     §
                                       §   CIV. NO. 1:04-cv-00042-RP
BOBBY LUMPKIN, Director,               §     (Death Penalty Case)
Texas Department of Criminal           §
Justice, Correctional Institutions     §
Division,                              §
                  Respondent.          §

                RESPONDENT’S UNOPPOSED MOTION
                    TO SUBSTITUTE COUNSEL

      This is a federal habeas case. Petitioner, Scott Panetti, is a Texas state

inmate under a sentence of death. Respondent, Director Bobby Lumpkin, is

Petitioner’s custodian. This case has been reassigned to the undersigned

assistant attorney general who will now be representing Respondent in this

proceeding. Therefore, Respondent moves to permit Ali Nasser to withdraw as

counsel of record for Respondent and substitute the undersigned in his place.

This substitution request is not designed or intended to harass Petitioner or to

delay this proceeding. Any future documents should be sent to the same

address (if physically delivered) or to the undersigned’s email address (if

electronic).
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                              CONCLUSION

     Respondent respectfully requests that the Court allow Ali Nasser to

withdraw as counsel and substitute the undersigned as counsel of record.

                                   KEN PAXTON
                                   Attorney General of Texas

                                   BRENT WEBSTER
                                   First Assistant Attorney General

                                   JOSH RENO
                                   Deputy Attorney General
                                   For Criminal Justice

                                   EDWARD L. MARSHALL
                                   Chief, Criminal Appeals Division

                                   s/ Jay Clendenin
                                   JAY CLENDENIN
                                   Assistant Attorney General
                                   Counsel of Record
                                   State Bar No. 24059589

                                   Post Office Box 12548, Capitol Station
                                   Austin, Texas 78711
                                   Tel: (512) 936-1400
                                   jay.clendenin@oag.texas.gov

                                   Counsel for Respondent




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                    CERTIFICATE OF CONFERENCE

     I certify that I conferred through electronic mail with Petitioner’s
counsel, Gregory Wiercioch, about this motion, and he stated Petitioner was
unopposed to it.

                                     s/ Jay Clendenin
                                     JAY CLENDENIN
                                     Assistant Attorney General

                       CERTIFICATE OF SERVICE

       I do hereby certify that on January 11, 2022, I electronically filed the
foregoing document with the Clerk of the Court for the U.S. District Court,
Western District of Texas, using the electronic case-filing system of the Court.
The electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to
the following counsel of record, who consented in writing to accept the NEF as
service of this document by electronic means:

Gregory W. Wiercioch
University of Wisconsin Law School
975 Bascom Mall
Madison, WI 53706
832-741-6203
wiercioch@wisc.edu
                                     s/ Jay Clendenin
                                     JAY CLENDENIN
                                     Assistant Attorney General




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